       Case 4:21-cv-00192-WMR Document 1-2 Filed 10/15/21 Page 1 of 33

                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    08/06/2021
                                                                                                    CT Log Number 540037178
TO:         Kim Lundy- Email
            Walmart Inc.
            702 SW 8TH ST
            BENTONVILLE, AR 72716-6209

RE:         Process Served in Georgia

FOR:        Wal-Mart Stores East, LP (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  Zavala Juana, Pltf. vs. Wal-Mart Stores East, LP, Dft.
DOCUMENT(S) SERVED:                               Entry, Summons, Attachment(s), Complaint, First Interrogatories, First Request(s)
COURT/AGENCY:                                     Whitfield County, Superior Court, GA
                                                  Case # 21CI00984
NATURE OF ACTION:                                 Personal Injury - Slip/Trip and Fall - 08/16/2019, Store #5173 located at 815 Shugart
                                                  Road, Dalton, GA, 30720
ON WHOM PROCESS WAS SERVED:                       The Corporation Company (FL), Cumming, GA
DATE AND HOUR OF SERVICE:                         By Process Server on 08/06/2021 at 12:08
JURISDICTION SERVED :                             Georgia
APPEARANCE OR ANSWER DUE:                         Within 30 days after service, exclusive of the day of service (Document(s) may
                                                  contain additional answer dates)
ATTORNEY(S) / SENDER(S):                          Nathan D. Lock
                                                  McCamy, Phillips, Tuggle & Fordham, LLP
                                                  P.O. Box 1105
                                                  Dalton, GA 30722
                                                  706-278-4499
ACTION ITEMS:                                     CT has retained the current log, Retain Date: 08/06/2021, Expected Purge Date:
                                                  08/11/2021

                                                  Image SOP

REGISTERED AGENT ADDRESS:                         The Corporation Company (FL)
                                                  106 Colony Park Drive
                                                  STE 800-B
                                                  Cumming, GA 30040
                                                  877-564-7529
                                                  MajorAccountTeam2@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




                                                                                                    Page 1 of 1 / JD
        • -:.                  Case 4:21-cv-00192-WMR Document 1-2 Filed 10/15/21 Page 2 of 33
                SHERIFF'S ENTRY OF SERVICE •                                                    SC-85-2

                                                                                                      Superior Court          EX       Magistrate Court           0
                                                                                                      State Court             0        Probate Court              0
                Civil Action klo. 21C1009845                                                          Juvenile Court          0

                Date Filed      August 2, 2021                                              Georgia           VBITFIELD                                        COUNT .


                Attorney's Address
                                                                                            JUAMKZAVALA
                             C ‘1               Looc,            Esq.                                                                                             Plaintiff
                                                                                                                                       VS.
         \).0• C7 ..)01% \O3
          -c**6-\ mir),     "3(3-12...?_.                                                             WAL MART STORES EAST. LP
                Name and Address of Party to be Served.

                Val-Mart Stores East, LP                                                                                                                        Defendant

            c/o The Corporation Coupany

            106 Colony Park Dr., Ste. 800-8

            Cussing, CA 30040-2794                                                                                                                              Garnishee
                                                                       SHERIFF'S ENTRY OF SERVICE
-J
<

O               I have this day served the defendant                                                                                                 personally with a copy
•           of the within action and summons.



                I have this day served the defendant                                                                                                           by leaving a
u)
n
O           copy of the action and summons at his most notorious place of abode in this County.
En
O 1-i       Delivered same into hands of                                                                                                              described as follows:
I—
o
Z           age, about                    years; weight             pounds; height, about                 feet and                inches, domiciled at the residence of

            defendant.

z
o
•           Served the defendant       Wal—Mart      Stores East. LP c/o The Corporation Company                                                             a corporation

012
a
            by leaving a copy of the within action and summon wia ntld p12intiffIS ?fret Interrogatorivt:71                                           R.CCIIICI3t
cc                                                                                                                               VJOA
O           gfigfirPgPrftWeici% Ate Datgicrbilatta oiligkorporation in this County.                                 (S)V
                                                                                                             tA,A1.\,
C.)

 _1
;Il         I have this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the door of the premises designated in said
 M          affidavit, and on the same day of such posting by depositing a true copy of same in the United States Mail, First Class in an envelope properly addressed to the
<I 0
Y           defendant(s) at the address shown in said summons, with adequate postage affixed thereon containing notice to the defendant(s) to answer said summons at the
0
O           place stated in the summons.
I—


cn
            Diligent search made and defendant
z0          not to be found in the jurisdiction of this Court.
O




           This              day of      PA)(-/\          ,20    7,\

                                                                                                                                                                  DEPUTY
           SHERIFF DOCKET                PAGE
           WHITE-CLERK CANARY-PLAINTIFF PINK-DEFENDANT
Case 4:21-cv-00192-WMR Document 1-2 Filed 10/15/21 Page 3 of 33
                                                                                              EFILED IN OFFICE
             SUPERIOR COURT OF WHITFIELD COUNTY                                         CLERK OF SUPERIOR COURT
                                                                                        WHITFIELD COUNTY, GEORGIA
                      STATE OF GEORGIA
                                                                                             21CI00984
                                                                                           SCOTT MINTER
                                                                                         AUG 02, 2021 09:52 AM


                                                                                                             Babs
                                                                                                     Whiutield
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                      CIVIL ACTION NUMBER 21C100984
   Zavala, Juana

   PLAINTIFF
                                              VS.
   Wal-Mart Stores East, LP

   DEFENDANT


                                           SUMMONS
   TO: WAL-MART STORES EAST, LP

   You are hereby summoned and required to file with the Clerk of said court and serve upon the
   Plaintiffs attorney, whose name and address is:

                              Nathan D Lock
                              McCamy, Phillips, Tuggle & Fordham,LLP
                              PO Box 1105
                              Dalton, Georgia 30722-1105

   an answer to the complaint which is herewith served upon you, within 30 days after service of
   this summons upon you, exclusive of the day of service. If you fail to do so,judgment by
   default will be taken against you for the relief demanded in the complaint.

   This 2nd day of August, 2021.
                                                    Clerk of Superior Court




                                                                      Babs Bailey,.Clerk
                                                              Whitfield County, Georgia




                                                                                       Page 1 of I
               Case 4:21-cv-00192-WMR Document 1-2 Filed 10/15/21 Page 4 of 33

                                                                                                                EFILED IN OFFICE
                        General Civil and Domestic Relations Case Filing Information                  FOrITCLERK OF SUPERIOR COURT
                                                                                                          WHITFIELD COUNTY, GEORGIA
                           0 Superior or 0 State Court of            Whitfield                 County          21C100984
                                                                                                                SCOTT MINTFR
                                                                                                             AUG 02, 2021 09:52 AM
        For Clerk Use Only

        Date Filed 08-02-2021                                    Case Number 21c100984                                       bcj2QA/
                                                                                                                               Babs Bailey,—;lerk
                                                                                                                       Whitfield County, Georgia
                       M M-DD-YYYY

Plaintiff(s)                                                        Defendant(s)
Zavala, Juana                                                       Wal-Mart Stores East, LP
Last           First             Middle I.    Suffix    Prefix      Last           First         Middle I.    Suffix      Prefix


Last           First             Middle I.    Suffix    Prefix      Last           First         Middle I.    Suffix      Prefix


Last           First             Middle I.    Suffix    Prefix      Last           First         Middle I.    Suffix      Prefix


Last           First             Middle I.    Suffix    Prefix      Last           First         Middle I.    Suffix      Prefix

Plaintiff's Attorney   Lock, Nathan D                                Bar Number     948780             Self-Represented 0

                            Check one case type and, if applicable, one sub-type in one box.

        General Civil Cases                                                Domestic Relations Cases
        O       Automobile Tort                                            O     Adoption
        O       Civil Appeal                                               O     Contempt
        O       Contract                                                         0 Non-payment of child support,
        O       Contempt/Modification/Other                                      medical support, or alimony
                Post-Judgment                                              O     Dissolution/Divorce/Separate
        O       Garnishment                                                      Maintenance/Alimony
        O       General Tort                                               O     Family Violence Petition
        O       Habeas Corpus                                              •     Modification
        O       Injunction/Mandamus/Other Writ                                   0 Custody/Parenting Time/Visitation
        O       Landlord/Tenant                                            O     Paternity/Legitimation
        O       Medical Malpractice Tort                                   O     Support — IV-D
        O       Product Liability Tort                                     O     Support — Private(non-IV-D)
        O       Real Property                                              O     Other Domestic Relations
        O       Restraining Petition
        O       Other General Civil

O       Check if the action is related to another action(s) pending or previously pending in this court involving some or all
        of the same parties, subject matter, or factual issues. If so, provide a case number for each.

                   Case Number                                    Case Number

•       I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
        redaction of personal or confidential information in 0.C.G.A. § 9-11-7.1.

•       Is a foreign language or sign-language interpreter needed in this case? If so, provide the language(s) required.

         Spanish                             Language(s) Required

O       Do you or your client need any disability accommodations? If so, please describe the accommodation request.



                                                                                                                            Version 1.1.20
      Case 4:21-cv-00192-WMR Document 1-2 Filed 10/15/21 Page 5 of 33

                                                                                   EFILED IN OFFICE
                                                                               CLERK OF SUPERIOR COURT
                                                                               WHITFIELD COUNTY, GEORGIA
                                                                                   21C100984
                  IN THE SUPERIOR COURT OF WHITFIELD COUNTY                       SCOTT MINTER
                                                                                AUG 02, 2021 09:52 AM
                               STATE OF GEORGIA

                                                                                                Babs Belle    lark
                                                                                        Whitfield County, Georgia

JUANA ZAVALA

              Plaintiff,

VS.                                               CIVIL ACTION NO.

WAL-MART STORES EAST, LP

              Defendant.

                             COMPLAINT FOR DAMAGES

       COMES NOW Plaintiff, JUANA ZAVALA, by and through counsel, and files this

Complaint for Damages and in support thereof show the Court the following:

                                            -1-

       Defendant WAL-MART STORES EAST, LP ("Wal-Mart" or "Defendant" hereafter)

is a limited partnership organized under Delaware law with its principal office located in

Bentonville, Arkansas authorized to do business within the state of Georgia and is

subject to the jurisdiction and venue of this Court pursuant to Ga. Const. 1983, Art. VI,

II, & VI, 0.C.G.A. §9-10-91, and 0.C.G.A. §14-2-510 and by virtue of committing a

tortious act within Whitfield County, Georgia, where it maintains an office.

                                            -2-

       Defendant may be served via its Georgia registered agent, The Corporation

Company, located at 106 Colony Park Drive, Ste. 800-B, Cumming, GA 30040-2794 in

Forsyth County.
      Case 4:21-cv-00192-WMR Document 1-2 Filed 10/15/21 Page 6 of 33




                                            -3-

       Plaintiff Juana Zavala is domiciled in Whitfield County, Georgia and is likewise

subject to the jurisdiction and venue of this Court.

                                            -4-

       On or about August 16, 2019, Ms. Zavala visited Defendant's Whitfield County

retail store (Store #5173)located at 815 Shugart Road, Dalton, GA 30720.

                                            -5-

       Ms. Zavala was a business invitee present at Defendant's store for the purpose

of shopping.

                                            -6-

       During the course of her shopping experience, Ms. Zavala slipped and fell upon a

clear liquid located on the floor.

                                            -7-

       The clear liquid was unmarked and undetectable to Ms. Zavala.

                                            -8-

       Ms. Zavala suffered injuries that included a torn rotator cuff, torn bicep tendon,

and damage at multiple locations in her spine as a result of her fall.

                                            -9-

       Ms. Zavala experienced severe pain and suffering, required multiple surgeries

and other substantial medical treatment for her injuries.




                                             2
      Case 4:21-cv-00192-WMR Document 1-2 Filed 10/15/21 Page 7 of 33




                                            -10-

       Some of Ms. Zavala's injuries, despite treatment, have resulted in a permanent

state of pain and impairment or limitation of use, affecting her quality of life and

enjoyment.

                       COUNT ONE — NEGLIGENT INSPECTION

                                            -11-

       As a business invitee, Defendant owed Ms. Zavala a duty to reasonably inspect

and make safe its premises.

                                            -12-

       Defendant breached that duty by failing to establish and/or follow adequate

procedures to monitor its premises and discover hazards such as the liquid upon which

Ms. Zavala slipped and fell.

                                            -13-

       Defendant's negligence was the direct and proximate cause of Ms. Zavala's

injury and damages.

      COUNT TWO — NEGLIGENT RESPONSE TO HAZARDOUS CONDITION

                                            -14-

       As a business invitee, Defendant owed Ms. Zavala a duty to inspect and make

safe its premises.

                                            -15-

       Defendant breached that duty by failing to remove the dangerous substance from

the floor upon discovery by store personnel and by failing to warn Ms. Zavala of the

known hazard.




                                              3
     Case 4:21-cv-00192-WMR Document 1-2 Filed 10/15/21 Page 8 of 33




                                          -16-

      Defendant's negligence was the direct and proximate cause of Ms. Zavala's

injury and damages.



      WHEREFORE, Plaintiff prays as follows:

1.    That Ms. Zavala be awarded damages for her general pain and suffering and

      permanent impairment in an amount to be proven at trial;

2.    That Ms. Zavala be awarded compensatory damages for her expenses incurred

      in relation to her medical treatment and care;

3.    That Ms. Zavala be awarded all pre-judgment and post-judgment interest allowed

      by law;

4.    That Ms. Zavala be awarded any other relief the court determines equitable and

      proper; and

5.    That a jury be empaneled to determine all issues of fact in this action.



Respectfully submitted this 2nd day of August, 2021.


                                  MCCAMY, PHILLIPS, TUGGLE & FORDHAM LLP


                                  BY:   /s/ Nathan D. Lock
                                        NATHAN D. LOCK,
                                        ATTORNEY FOR PLAINTIFF
                                        STATE BAR NO. 948780
                                        P. 0. BOX 1105
                                        DALTON GA 30722-1105
                                        P:706-278-4499
                                        F:706-529-8814
                                        nlock@mccamylaw.com




                                           4
        Case 4:21-cv-00192-WMR Document 1-2 Filed 10/15/21 Page 9 of 33



                 IN THE SUPERIOR COURT OF WHITFIELD COUNTY
                              STATE OF GEORGIA

JUANA ZAVALA

              Plaintiff,

vs.                                              CIVIL ACTION NO. 21CI00984

WAL-MART STORES EAST, LP

              Defendant.

             PLAINTIFF'S FIRST INTERROGATORIES TO DEFENDANT

TO:     Wal-Mart Stores East, LP
        c/o The Corporation Company
        106 Colony Park Drive, Ste. 800-B
        Cumming, GA 30040-2794

   You are hereby requested pursuant to 0.C.G.A. § 9-11-26, 0.C.G.A. § 9-11-33

and 0.C.G.A. § 9-11-34 to answer the following interrogatories separately and fully in

writing under oath within forty-five (45)days from the date of service as provided by

law and a copy of the answers to be furnished to Plaintiffs counsel, NATHAN D.        •

LOCK, McCamy, Phillips, Tuggle & Fordham, LLP, P.O. Box 1105, Dalton, GA 30722-

1105.

                           DEFINITIONS AND INSTRUCTIONS

   a. The term "identify" when used with reference to a person means such person's
      name, present home and business address, present home and business
      telephone numbers and present position of employment.
   b. The term "identify" when used in reference to a document means a description of
      the type of document, the identity of the person or persons who authored, signed
      or prepared it, the identity of the addressee(s), if any, and the recipient(s) of the
      original copy thereof; the date of the documents, or, if none, the approximate
      date of its preparation; the present location or custodian.
   c. A "communication" or "communications" means all oral conversations,
      discussions, letters, telegrams, memoranda, meeting minutes, emails, facsimile
         Case 4:21-cv-00192-WMR Document 1-2 Filed 10/15/21 Page 10 of 33



         transmissions, and any other transmission of information in any form, both oral
         and written.
   d.    A "document" means any legal documents, business records, letters,
         memoranda, notes, statements, reports, work papers, drafts, copies, inter-office
         and intra-office communications and messages,.drawings, and graphic material,
         whether created or stored in written, printed, tangible, electronic, mechanical, or
         electrical form of any kind, including material on computer hard drives, tapes,
         disks, files, and other memories, backup copies and "deleted" files, whether
         located on-site or off-site,
   e.    "Defendant" shall mean Wal-Mart Stores East, LP and any employees or agents
         thereof.
   f.    "You" includes Defendant's agents, employees, insurance company, their agents
         and employees, and Defendant's attorneys, investigators and anyone else acting
         on their behalf.
   g.    "Custodian" refers to the person having possession, custody or control of any
         writing or physical evidence.
   h.    "Occurrence" or "incident" refers to the fall which is the subject of Plaintiff's
         Complaint occurring on or about August 16, 2016.
    i.   "Plaintiff' shall refer to Plaintiff Juana Zavala.
   j.     "Subject Store" shall mean the Defendant's retail store were the accident is
         alleged to have occurred located at 815 Shugart Road in Dalton, Georgia.

                                    I NTERROGATORIES

1. Please state the name,job title, phone number, and address of all persons
   answering these interrogatories or providing information used to create these
   answers.

2. Please identify all persons or witnesses that possess information concerning how
   the clear liquid upon which Ms. Zavala fell came to rest on the floor, the occurrence
   of Ms. Zavala's fall in general, or why the liquid was not removed prior to Ms.
   Zavala's fall. For each person identified, state the subject of their knowledge.

3. Please identify all employees, including job title, that were responsible on August 16,
   2016 for inspecting and/or cleaning the area of the store where Ms. Zavala fell.

4. Please describe all procedures in place at the time of the incident to ensure prompt
   discovery of spills or other fall hazards that may arise in the subject store.

5. Please describe all procedures in place at the time of the incident to prevent harm to
   patrons following the discovery of a spill or other fall hazard in the subject store.

6. Please describe all ways in which Defendant ensures its employees are aware of the
   procedures identified in numbers 4 and 5 above.
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7. Please state the time of the Plaintiff's fall as accurately as you can, giving the year,
   month, day, hour, and minute if possible.

8. Was defendant in charge of maintaining the premises at the time of the incident? If
   not please identify the person or entity that was in charge of maintaining the
   premises at the time of the incident.

9. Please identify the manager on duty at the subject store at the time of Plaintiff's
   injury.

10.Please identify all employees responsible for monitoring video surveillance at the
   subject store at the time of the subject incident.

1 1. Was the subject incident captured by video surveillance or photograph? If so
     identify the custodian of the video or photograph.

12. Did video surveillance or photograph capture the events that caused the clear liquid
    upon which Plaintiff slipped to come into contact with the floor of the subject store?
    If so identify the custodian of the video or photograph.

13.Please Identify and describe the material(s) comprising the flooring of the subject
   store in the location where Plaintiff fell, including color and texture.

14.Please describe in detail all steps taken by defendant or its agents to assist the
   Plaintiff upon discovery of Plaintiffs injury.

15. How much time passed between Plaintiffs injury and the moment when an agent of
   the defendant first responded to provide assistance to her?

16.Please identify all insurance policies that may be liable for all or part of plaintiff's
   recovery in the event plaintiff is awarded damages in this suit.

17.Please identify all representatives of Defendant that communicated with Plaintiff
   following her fall and describe the date and subject of each communication.

18.Was a report made of this incident? If so, identify the person(s) who created each
   report and the custodian of each report.

19.1s Defendant in possession of any written or recorded statements pertaining to the
   subject incident, including but not limited to witness statements?

20.Please identify and describe with specificity all negligent acts of Plaintiff which you
   allege contributed to her injuries.

21.Were any employees terminated as a result of the subject incident? If so, please
   identify each such employee, the date of termination, and reason for termination.
       Case 4:21-cv-00192-WMR Document 1-2 Filed 10/15/21 Page 12 of 33




22.Were any employees disciplined as a result of the subject incident? If so, please
   identify each such employee, the date of discipline, and the reason for discipline.

23.Please identify any and all person whom you intend to call as an expert witness at
   the trial of this suit and the subject matter of each such person's testimony.

24.As to each expert witness identified in response to the previous interrogatory,
   describe in detail the qualifications of each expert. You may attach the expert's CV
   in lieu of answering this interrogatory.

25.Identify the person or persons who spilled the clear liquid upon which Plaintiff fell.


       This 2nd day of August, 2021.



                                   McCamy, Phillips, Tuggle and Fordham, LLP

                                   /s/ Nathan D. Lock
                                   NATHAN D. LOCK
                                   Attorney for the Plaintiffs
                                   Georgia Bar Number: 948780
                                   P.O. Box 1105
                                   Dalton. Georgia 30722-1105
                                   P:(706)278-4499
                                   F:(706)529-8814
         Case 4:21-cv-00192-WMR Document 1-2 Filed 10/15/21 Page 13 of 33



                  IN THE SUPERIOR COURT OF WHITFIELD COUNTY
                               STATE OF GEORGIA

JUANA ZAVALA

               Plaintiff,

vs.                                              CIVIL ACTION NO. 21CI00984

WAL-MART STORES EAST, LP

               Defendant.

       PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO
                               DEFENDANT


TO:     Wal-Mart Stores East, LP
        c/o The Corporation Company
        106 Colony Park Drive, Ste. 800-B
        Cumming, GA 30040-2794

      You are hereby requested pursuant to 0.C.G.A. §9-11-34 to produce on the 45th

day from the receipt of this pleading, or at any sooner agreeable time to Plaintiff's

counsel, NATHAN D. LOCK, McCamy, Phillips, Tuggle & Fordham, LLP, 411 West

Crawford Street, Dalton, Georgia 30720, the numbered items described herein and

there to permit the inspection, copying, and photographing of said items.

   In lieu of appearance, you may provide a true copy of said items and mail them to

the undersigned.

                            DEFINITIONS AND INSTRUCTIONS

   a. A "communication" or "communications" means all oral conversations,
      discussions, letters, telegrams, memoranda, meeting minutes, emails, facsimile
      transmissions, and any other transmission of information in any form, both oral
      and written.
   b. A "document" means any legal documents, business records, letters,
      memoranda, notes, statements, reports, work papers, drafts, copies, inter-office
      and intra-office communications and messages, drawings, and graphic material,
        Case 4:21-cv-00192-WMR Document 1-2 Filed 10/15/21 Page 14 of 33



        whether created or stored in written, printed, tangible, electronic, mechanical, or
        electrical form of any kind, including material on computer hard drives, tapes,
        disks, files, and other memories, backup copies and "deleted" files, whether
        located on-site or off-site,
   c.   "Defendant" shall mean Wal-Mart Stores East, LP and any employees or agents
        thereof.
   d.   "You" includes Defendant's agents, employees, insurance company, their agents
        and employees, and Defendant's attorneys, investigators and anyone else acting
        on their behalf.
   e.   "Custodian" refers to the person having possession, custody or control of any
        writing or physical evidence.
   f.   "Occurrence" or "incident" refers to the fall which is the subject of Plaintiff's
        Complaint occurring on or about August 16, 2016.
   g.   "Plaintiff' shall refer to Plaintiff Juana Zavala.
   h.   "Subject Store" shall mean the Defendant's retail store were the accident is
        alleged to have occurred located at 815 Shugart Road in Dalton, Georgia.

                               DOCUMENTS REQUESTED

1. All videos and photographs depicting Plaintiff while in the subject store on the date
   of the incident.

2. All videos and photographs depicting the manner in which the clear liquid upon
   which Plaintiff slipped came to rest upon the floor.

3. All videos and photographs depicting the physical location within the subject store
   where Plaintiff fell from the time the clear liquid was spilled until Plaintiff was
   removed from the floor following her fall.

4. All accident reports or other documents recording the subject occurrence.

5. All recorded and written statements taken from any person with knowledge of the
   subject occurrence, including but not limited to the Plaintiff.

6. All reports of law enforcement and other emergency responders regarding the
   subject incident.

7. All documents identified in or relied upon when answering Plaintiff's First
   I nterrogatories to Defendant.

8. All communications between you and any expert witness regarding this action or the
   incident forming the basis of this action.
       Case 4:21-cv-00192-WMR Document 1-2 Filed 10/15/21 Page 15 of 33



9. All employee records reflecting a reprimand, discipline, or termination related to the
   subject incident.

10.All documents provided to employees of Defendant providing instruction regarding
   Defendant's policies and procedures for detection of spill hazards and removal of
   spill hazards.

1 1.All documents, including but not limited to credit card and bank account information,
    that may assist Plaintiff in identifying and locating the person or persons who spilled
    the clear liquid upon which she fell.

12.AII logs or other documents recording the time and/or manner of inspection of the
   area in which Plaintiff fell for the entire day of August 16, 2016.



      This 2nd day of August, 2021.


                                   McCamy, Phillips, Tuggle and Fordham, LLP

                                   /s/ Nathan D. Lock
                                   NATHAN D. LOCK
                                   Attorney for the Plaintiff
                                   Georgia Bar Number: 948780
                                   P.O. Box 1105
                                   Dalton. Georgia 30722-1105
                                   P:(706)278-4499
                                   F:(706)529-8814
      Case 4:21-cv-00192-WMR Document 1-2 Filed 10/15/21 Page 16 of 33

                                                                        CLERK OF SUPERIOR COURT
                                                                        WHITFIELD COUNTY, GEORGIA
                                                                            21CI00984
             IN THE SUPERIOR COURT OF WHITFIELD COUNTY                      SCOTT MINTER
                                                                         SEP 05, 2021 11:37 AM
                          STATE OF GEORGIA

JUANA ZAVALA,                                             Civil Action File No.
                                                          21CI00984
             Plaintiff,
v.

WAL-MART STORES EAST, LP,

             Defendant.
                                       /

                           ANSWER OF DEFENDANT

      COMES NOW, Defendant WAL-MART STORES EAST, LP, and makes this

Answer to Plaintiff's Complaint as follows:

                                 FIRST DEFENSE

      Plaintiff's Complaint fails to state a claim against Defendant upon which

relief can be granted.

                               SECOND DEFENSE

      Plaintiff's alleged damages, if any, were directly and proximately caused by

Plaintiff's own contributory negligence and failure to exercise ordinary care.

                                 THIRD DEFENSE

      Plaintiff was not in the exercise of ordinary care for her own safety in the

premises, and by the exercise of ordinary care could have avoided any injury to

herself; and on account thereof, Plaintiff is not entitled to recover from Defendant.
      Case 4:21-cv-00192-WMR Document 1-2 Filed 10/15/21 Page 17 of 33




                               FOURTH DEFENSE

      Defendant denies that it was negligent in any manner whatsoever or that

any negligent act or omission on its part caused or contributed to any injury or

damage alleged to have been sustained by Plaintiff.

                                FIFTH DEFENSE

      Plaintiff assumed the risk of any hazard that was presented and is thereby

barred from recovering against Defendant.

                                SIXTH DEFENSE

      Defendant responds to the enumerated paragraphs of Plaintiff's Complaint

as follows:

                                        1.

      Defendant admits the allegations only as to jurisdiction and venue

contained in paragraph 1 of the Plaintiff's Complaint.

                                        2.

      Defendant admits the allegations contained in paragraph 2 of the Plaintiff's

Complaint.

                                        3.

      Defendant lacks sufficient knowledge and information to either admit or

deny the allegations contained in paragraph 3 of Plaintiff's Complaint.
      Case 4:21-cv-00192-WMR Document 1-2 Filed 10/15/21 Page 18 of 33




                                        4.

      Defendant admits the allegations contained in paragraph 4 of the Plaintiff's

Complaint.

                                        5.

      Defendant denies, as stated, the allegations contained in paragraph 5 of the

Plaintiff’s Complaint.

                                        6.

      Defendant lacks sufficient knowledge and information to either admit or

deny the allegations contained in paragraph 6 of Plaintiff's Complaint.

                                        7.

      Defendant denies the allegations contained in paragraph 7 of the Plaintiff's

Complaint.

                                        8.

      Defendant denies the allegations contained in paragraph 8 of the Plaintiff's

Complaint.

                                        9.

      Defendant denies the allegations contained in paragraph 9 of the Plaintiff's

Complaint.
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                                       10.

      Defendant denies the allegations contained in paragraph 10 of the Plaintiff's

Complaint.

                                       11.

      Defendant denies, as stated, the allegations contained in paragraph 11 of the

Plaintiff’s Complaint.

                                       12.

      Defendant denies the allegations contained in paragraph 12 of the Plaintiff's

Complaint.

                                       13.

      Defendant denies the allegations contained in paragraph 13 of the Plaintiff's

Complaint.

                                       14.

      Defendant denies, as stated, the allegations contained in paragraph 14 of

the Plaintiff’s Complaint.

                                       15.

      Defendant denies the allegations contained in paragraph 15 of the Plaintiff's

Complaint.
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                                        16.

      Defendant denies the allegations contained in paragraph 16 of the Plaintiff's

Complaint.

                                        17.

      All other allegations contained in the Complaint which are not specifically

responded to herein, are, therefore, denied.

      Defendant denies Plaintiff's prayer for relief, including all subparts thereof.

      WHEREFORE, Defendant prays that Plaintiff's Complaint be dismissed

with all costs cast upon the Plaintiff. DEFENDANT DEMANDS TRIAL BY A JURY

OF TWELVE (12) PERSONS AS TO ALL ISSUES SO TRIABLE.


                                       McLAIN & MERRITT, P.C.




                                       Jennie E. Rogers
                                       Georgia Bar No. 612725
                                       Attorney for Defendant
                                       WAL-MART STORES EAST, LP

3445 Peachtree Road, N.E., Suite 500
Atlanta GA 30326
(404) 365-4576
(404) 364-3138 (fax)
jrogers@mmatllaw.com
      Case 4:21-cv-00192-WMR Document 1-2 Filed 10/15/21 Page 21 of 33




                         CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing ANSWER OF

DEFENDANT WAL-MART STORES EAST, LP has this day been filed and

served upon opposing counsel via PeachCourt E-File.

      This the 5th day of September, 2021.

                                       McLAIN & MERRITT, P.C.




                                       Jennie E. Rogers
                                       Georgia Bar No. 612725
                                       Attorney for Defendant
                                       WAL-MART STORES EAST, LP

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      Case 4:21-cv-00192-WMR Document 1-2 Filed 10/15/21 Page 22 of 33

                                                                      CLERK OF SUPERIOR COURT
                                                                      WHITFIELD COUNTY, GEORGIA
                                                                          21CI00984
             IN THE SUPERIOR COURT OF WHITFIELD COUNTY                    SCOTT MINTER
                                                                       SEP 05, 2021 11:37 AM
                          STATE OF GEORGIA

JUANA ZAVALA,                                            Civil Action File No.
                                                         21CI00984
             Plaintiff,
v.

WAL-MART STORES EAST, LP,

             Defendant.
                                          /

                           12-PERSON JURY DEMAND

      COMES NOW Defendant, WAL-MART STORES EAST, LP and demands a

trial by a jury of twelve (12) persons.


                                          McLAIN & MERRITT, P.C.




                                          Jennie E. Rogers
                                          Georgia Bar No. 612725
                                          Attorney for Defendant
                                          WAL-MART STORES EAST, LP

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      Case 4:21-cv-00192-WMR Document 1-2 Filed 10/15/21 Page 23 of 33




                         CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing 12-PERSON JURY

DEMAND has this day been filed and served upon opposing counsel via

PeachCourt E-File.

      This the 5th day of September, 2021.

                                       McLAIN & MERRITT, P.C.




                                       Jennie E. Rogers
                                       Georgia Bar No. 612725
                                       Attorney for Defendant
                                       WAL-MART STORES EAST, LP

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      Case 4:21-cv-00192-WMR Document 1-2 Filed 10/15/21 Page 24 of 33

                                                                      CLERK OF SUPERIOR COURT
                                                                      WHITFIELD COUNTY, GEORGIA
                                                                          21CI00984
            IN THE SUPERIOR COURT OF WHITFIELD COUNTY                     SCOTT MINTER
                                                                       SEP 05, 2021 11:37 AM
                         STATE OF GEORGIA

JUANA ZAVALA,                                           Civil Action File No.
                                                        21CI00984
            Plaintiff,
v.

WAL-MART STORES EAST, LP,

            Defendant.
                                      /

                         NOTICE OF TAKING DEPOSITION

      YOU ARE HEREBY notified that beginning on the 23rd day of November,

2021, commencing at 11:00 a.m., at the offices of McCamy, Phillips, Tuggle &

Fordham LLP, 411 West Crawford Street, Dalton, GA 30720, the deposition will be

taken of Juana Zavala. Said deposition will be taken for purposes of discovery and

all other purposes provided by law before an officer duly authorized to administer

oaths. The deposition shall continue from day-to-day until completion. This

deposition may also be videotaped by a videographer.

                                     McLAIN & MERRITT, P.C.




                                     Jennie E. Rogers
                                     Georgia Bar No. 612725
                                     Attorney for Defendant
                                     WAL-MART STORES EAST, LP
      Case 4:21-cv-00192-WMR Document 1-2 Filed 10/15/21 Page 25 of 33




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      Case 4:21-cv-00192-WMR Document 1-2 Filed 10/15/21 Page 26 of 33




                         CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing NOTICE OF

TAKING DEPOSITION has this day been filed and served upon opposing

counsel via PeachCourt E-File.

      This the 5th day of September, 2021.

                                       McLAIN & MERRITT, P.C.




                                       Jennie E. Rogers
                                       Georgia Bar No. 612725
                                       Attorney for Defendant
                                       WAL-MART STORES EAST, LP

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      Case 4:21-cv-00192-WMR Document 1-2 Filed 10/15/21 Page 27 of 33

                                                                      CLERK OF SUPERIOR COURT
                                                                      WHITFIELD COUNTY, GEORGIA
                                                                          21CI00984
             IN THE SUPERIOR COURT OF WHITFIELD COUNTY                     SCOTT MINTER
                                                                        SEP 05, 2021 11:37 AM
                          STATE OF GEORGIA

JUANA ZAVALA,                                            Civil Action File No.
                                                         21CI00984
             Plaintiff,
v.

WAL-MART STORES EAST, LP,

             Defendant.
                                       /

                   CERTIFICATE REGARDING DISCOVERY

      Pursuant to Uniform State Court Rule 5.2, as amended, the undersigned

hereby certifies that the following discovery has been served upon all persons

identified in the Certificate of Service attached hereto and incorporated herein by

reference:

      1) REQUEST FOR ADMISSIONS
      2) INTERROGATORIES AND REQUEST FOR                     PRODUCTION          TO
         PLAINTIFF



                                      McLAIN & MERRITT, P.C.




                                      Jennie E. Rogers
                                      Georgia Bar No. 612725
                                      Attorney for Defendant
                                      WAL-MART STORES EAST, LP
      Case 4:21-cv-00192-WMR Document 1-2 Filed 10/15/21 Page 28 of 33




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      Case 4:21-cv-00192-WMR Document 1-2 Filed 10/15/21 Page 29 of 33




                         CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing CERTIFICATE

REGARDING DISCOVERY has this day been filed and served upon opposing

counsel via PeachCourt E-File.

      This the 5th day of September, 2021.

                                       McLAIN & MERRITT, P.C.




                                       Jennie E. Rogers
                                       Georgia Bar No. 612725
                                       Attorney for Defendant
                                       WAL-MART STORES EAST, LP

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        Case 4:21-cv-00192-WMR Document 1-2 Filed 10/15/21 Page 30 of 33

                                                                      CLERK OF SUPERIOR COURT
                                                                      WHITFIELD COUNTY, GEORGIA
                                                                          21CI00984
              IN THE SUPERIOR COURT OF WHITFIELD COUNTY                    SCOTT MINTER
                                                                        SEP 20, 2021 08:41 AM
                           STATE OF GEORGIA

JUANA ZAVALA                                         CIVIL ACTION NO.
                                                     21CI00984
        Plaintiff,

vs.

WAL-MART STORES EAST, LP

      Defendant.
_________________________________/

                     CERTIFICATE REGARDING DISCOVERY

        Pursuant to Uniform State Court Rule 5.2, as amended, the undersigned

hereby certifies that the following discovery has been served upon all persons

identified in the Certificate of Service attached hereto and incorporated herein by

reference:

      1. DEFENDANT WAL-MART STORES EAST, LP’S ANSWERS TO
         PLAINTIFF’S FIRST INTERROGATORIES

      2. DEFENDANT WAL-MART STORES EAST, LP’S RESPONSES TO
         PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS

        This the 20th day of September, 2021.
                                                McLAIN & MERRITT, P.C.



                                                Jennie E. Rogers
                                                Georgia Bar No. 612725
                                                Attorney for Defendant
                                                WAL-MART STORES EAST, LP
      Case 4:21-cv-00192-WMR Document 1-2 Filed 10/15/21 Page 31 of 33




                         CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing CERTIFICATE

REGARDING DISCOVERY has this day been filed and served upon opposing

counsel via PeachCourt eFile.

      This the 20th day of September, 2021.


                                              McLAIN & MERRITT, P.C.



                                              Jennie E. Rogers
                                              Georgia Bar No. 612725
                                              Attorney for Defendant
                                              WAL-MART STORES EAST, LP

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      Case 4:21-cv-00192-WMR Document 1-2 Filed 10/15/21 Page 32 of 33

                                                                            CLERK OF SUPERIOR COURT
                                                                            WHITFIELD COUNTY, GEORGIA
                                                                                21CI00984
                IN THE SUPERIOR COURT OF WHITFIELD COUNTY                      SCOTT MINTER
                             STATE OF GEORGIA                                OCT 02, 2021 09:40 AM


JUANA ZAVALA                            :
                                        :
             Plaintiff,                 :
                                        :
vs.                                     :      CIVIL ACTION NO. 21CI00984
                                        :
WAL-MART STORES EAST, LP                :
                                        :
             Defendant.                 :

                  5.2 CERTIFICATE OF SERVICE OF DISCOVERY

      This is to serve notice, pursuant to Uniform Superior Court Rule 5.2, that the

undersigned has this date served Plaintiff’s Responses to Defendant’s First Request for

Admissions upon opposing counsel by electronic mail.

      This 2nd day of October, 2021.


                                 MCCAMY, PHILLIPS, TUGGLE & FORDHAM LLP


                                 BY:    /s/ Nathan D. Lock
                                        NATHAN D. LOCK,
                                        STATE BAR NO. 948780
                                        Attorney for Plaintiff
P. O. BOX 1105
DALTON GA 30722-1105
P: 706-278-4499
F: 706-529-8814
nlock@mccamylaw.com
      Case 4:21-cv-00192-WMR Document 1-2 Filed 10/15/21 Page 33 of 33




                              CERTIFICATE OF SERVICE

      This is to certify that I have this day served the following with a copy of the within

Certificate of Service of Discovery by electronic mail automatically generated by the

PeachCourt electronic filing system.

                               Jennie E. Rogers, Esq.
                               McLain & Merritt, P.C.
                        3445 Peachtree Road, N.E., Suite 500
                                 Atlanta, GA 30326
                              jrogers@mmatllaw.com


      This 2nd day of October, 2021.



                                  MCCAMY, PHILLIPS, TUGGLE & FORDHAM LLP


                                  By:     /s/ Nathan D. Lock
                                          Nathan D. Lock
                                          Ga. Bar No. 948780
